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Hi.

MEMORANDUM OF LAW
IN SUPPORT OF DEFENDANT YESLAM BIN LADIN’S
MOTION TO DISMISS PLAINTIFF’S COMPLAINT

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MEMORANDUM OF LAW

I. BASED ON SWISS LAW THIS COURT LACKS JURISDICTION OVER
THE SUBJECT MATTER OF THE COMPLAINT AND OVER THE
PERSON OF DEFENDANT YESLAM BINLADIN

Defendant Yeslam Binladin is a Swiss citizen residing and domiciled in Geneva,
Switzerland. The Third Amended Complaint (“3AC”) has been filed in the US
District Court, Southern District of New York. According to Swiss law, based upon
defendant’s nationality and domicile, Yeslam Binladin asserts that this court lacks

jurisdiction over the subject matter of the complaint and over his person.

A. Jurisdiction

The Swiss Federal Constitution of April 18, 1999, provides that a defendant in a
civil action has the right to have his case heard before the Court of his or her domicile.
However, Swiss law might provide that the case be heard at another forum (article 30
§ 2 of Swiss Constitution; exhibit 1) but this exception is inapplicable here. This
constitutional rule express the principle according to which any defendant has the right
to demand to appear before the natural judge of his or her person. It is meant to
regulate the conflicts of jurisdiction between the Court of the Cantons of Swiss
Confederation. It applies as a general rule unless a specific law provides an exception.
It is applicable as soon as a claim is filed in Switzerland. The right to have access to
the natural judge is fundamental in Swiss history.

When the three Fathers of the Swiss nation adopted the Grutli Pact in 1291 they
swore that people of the valleys would never again submit themselves to any foreign
judge. The constitutional rule reflects a principal of high importance in the concepts of
Human Rights: Plaintiffs jurisdiction is not sufficiently independent.

Article 30 §2 of the Swiss Federal Constitution shows the inspiration of the

Private International Law of Switzerland (“PIL”).
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PIL (exhibit 2'), dated December 18, 1987, regulates, in international matters, the
jurisdiction of Swiss judicial or administrative authorities, the applicable law, the
conditions for recognition and enforcement of foreign decisions, bankruptcy, and
composition and arbitration (Article 1 § 1 PIL).

Article 1 § 2 PIL provides that international treaties take precedence on the PIL
rules themselves. However the United States is not a party to the Lugano Convention
on Jurisdiction and the Enforcement of Judgments in Civil and Commercial Matters of
September 16, 1998, nor to any other bilateral treaty with Switzerland regarding these
matters.

Article 129 PIL belongs to the ninth Chapter of PIL called Obligations. It takes
place in the Third Section of the Chapter called Unlawful Acts.

Article 129 § 1 provides the following: Lawsuits based on unlawful acts are
subject to jurisdiction of the Swiss courts at the domicile of the defendant or, if he or
she has none, at the place of his or her habitual residence or business establishment.

This provision shows that according to PIL any civil claim must be brought to the
competent Court at the place of domicile. Here, the claim against Defendant Yeslam
Binladin, in casu must be brought before the Tribunal of First Instance of Geneva,
Switzerland.

According to these rules, Yeslam Binladin is entitled to challenge and deny the

US Court’s jurisdiction on him.

B. Non-recognition and non-enforcement of US Court’s Decision

Any Swiss authority, if asked for recognition and enforcement of a US Court’s
civil Decision against a Swiss citizen, must apply PIL, but no other rule, because, as

mentioned, there is no applicable international treaty between Switzerland and the

United States on civil matters.

' Relevant pages of the English language translation of PIL are attached; exhibit 2
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According to Article 25 PIL, A foreign decision is recognized in Switzerland: (a)
if jurisdiction lay with the judicial or administrative authorities of the country in which
the decision was rendered; (b) if no ordinary judicial remedy can any longer be
brought against the decision or if the decision is final, and (c) if no ground for non-
recognition under Article 27 exists.

The international jurisdiction of foreign authority must be examined ex officio by
the Swiss authority. Article 26 PIL provides that Jurisdiction lies with a foreign
authority, (a) if a provision of this Statue so provides or, if there is no such provision,
if the defendant had his or her domicile in the country where the decision was
rendered, (b) if, in disputes of financial interest, the parties by agreement valid under
This Siatute subjected themselves to the jurisdiction of the authority that rendered the
decision; (c) if in a dispute of financial interest the defendant entered an unconditional
appearance, or (d) if, in the case of counterclaim, the authority that rendered the
decision had jurisdiction over the principal claim, and the two claims are materially
connected. Only the two situations described at Article 26 (a) and (c) are relevant here.

Only the first hypothesis of Article 26 (a) must be examined since Yeslam
Binladin has neither a residence or domicile in the United States nor has Plaintiff
pleaded any such residence domicile. The identity of litigation is determined by the
cause of the claim. /n casu, the Plaintiff's claim is a civil claim for civil liability based
on an alleged illicit act. This matter is ruled by Article 129 and 130 PIL (Unlawful
Acts). In this matter, article 149 § 1 (a) and (b) provides that Foreign decisions
concerning claims under the law of obligations are recognized in Switzerland: (a) if
rendered in the country of the defendant’s domicile; or (b) if rendered in the country
of the defendant’s habitual residence, provided the claims are connected with the
activities there.. Neither of these two situations are relevant here because of Yeslam
Binladin’s unquestioned domicile and residence in Switzerland.

Article 149 §2 describes six other situations; only one of these is even arguable
here. When looked at closely, even that situation fails. Lit. (f) If it concerns claims
for unlawful acts, was rendered at the place the act or its effect, and the defendant was

not domiciled in Switzerland.
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In conclusion, no provision of PIL gives jurisdiction to US authority according to
Article 26 (a).

Article 26 (c) provides: Jurisdiction lies with a foreign authority if, in disputes of
financial interest the defendant entered an unconditional appearance. In other words,
one shall determine the hehavior of Yeslam Binladin in the case to determine a tacit
acceptance of the US Court’s jurisdiction.

According to Swiss cases” and the doctrine, the following rules apply: (1) no
attribution of jurisdiction will happen if the defendant does not appear; (2) no
attribution of jurisdiction will happen if the defendant makes an appearance limited to
challenging the jurisdiction, without answering the merit of the claim; (3) it is not
sufficient however for the defendant to let the Court rule by itself on the jurisdiction
issue; (4) no attribution of jurisdiction will happen if the defendant makes an
appearance to challenging and denying jurisdiction before to answer on the merit of
the claim, but this answer must be clearly qualified as subsidiary.

In conclusion, according to PIL, jurisdiction belongs to no other Court than
Geneva First Instance lribunal. For this reason, Defendant Yeslam Binladin expressly

challenges and denies the jurisdiction of the courts of the United States.

Il. BASED ON UNITED STATES LAW THIS COURT LACKS PERSONAL
AND SUBJECT MATTER JURISDICTION OVER DEFENDANT
YESLAM BINLADIN

Plaintiffs have failed to allege any facts that would allow this Court to exercise
personal jurisdiction over Yeslam Binladin. Plaintiffs bear that burden of establishing
this Court’s personal jurisdiction over foreign defendants. To survive a motion to
dismiss under Federal Rule 12(b)(2), plaintiffs must make a prima facie showing of
pertinent jurisdictional facts. Second Amend. Found. v. U.S. Conference of Mayors,
274F.3d 521, 524 (D.C. Cir.2001); first Chicago Int’l v. United Exch. Co., 836 F.2d
1375, 1378 (D.C. Cir. 1988); Ball v. Mettallurgie Hoboken-Overpelt, S.A., 902 F.2d

* Main significant cases are attached ; exhibit 3
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194, 197 (2d Cir.), cert denied, 498 U.S. 854 (1990); In re Magnetic Audiotape
Antitrust Litigation, 334 F.3d 204, 206 (2d Cir. 2003),

Moreover, the Supreme Court has cautioned that “[g]reat care and reserve should
be exercised when extending our notions of personal jurisdiction into the international
field”. Asahi Metal Indus. Co. v. Superior Court, 480 U.S. 102, 114-15(1987) (internal
citation and quotation omitted); Jn re Baan Co. Sec. Litig., 81 F. Supp.2d 75,81
(D.D.C. 2000) (citing Asahi, 480 U.S. at 114-15); Huang v. Sentinel Gov't Sec., 657 F.
Supp.485, 489 n.3 (S.D.N.Y, 1987).

In their 400 page complaint, the only relevant jurisdictional allegation is
Plaintiffs’ bare, general statement that “[t]his Court has both personal and subject
matter jurisdiction over the Defendants herein”. (3AC fl). That impermissible legal
conclusion is not sufficient to establish personal jurisdiction over Yeslam Binladin.
While the Court must accept Plaintiffs’ well-pleaded factual assertions as true, it need
not credit wholly conclusory allegations. Rather, “plaintiff must allege specific acts
connecting the defendant with the forum...” (Sunlite, Inc. y. Bfg Bank, AG, 849 F.
Supp. 74, 75 (D.D.C. 1994)). “[B]are allegations are insufficient.” (/d.; see also E-Z
Bowz v. Professional Product Research Co., 00 CIV. 8670, 2003 U.S. Dist. LEXIS
15256, at *12 (S.D.N.Y. Sept 5, 2003))(“conclusory allegation are not enough to
establish personal jurisdiction.”)(internal quotation and citation omitted). Because
Plaintiff's have failed to allege a prima facie basis for personal jurisdiction, their

claims against Yeslam Binladin must be dismissed.

A. Plaintiffs Have Failed to Allege Sufficient Contacts With the United States to

Subject Yeslam Binladin to Personal Jurisdiction

Of the enumerated statues falling under the heading “Jurisdiction and Venue” in
the Complaint (3AC, 1-3), only the Anti-terrorism Act (*ATA”) contains a
provision relating to personal jurisdiction — 18 U.S.C. § 2334. This nationwide service-

of-process provision is a quasi-jurisdictional statute that alters the geographic scope of
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the requisite “minimum contacts” analysis. It enables a plaintiff to establish
jurisdiction on the basis of a defendant’s contact with the United States as a whole
rather than under a state’s long-arm statue, which limits the analysis to contacts with
the individual state. However, Plaintiffs cannot rely on a nationwide analysis to that
Provision. (See United States Sec. & Exch, Comm'n v. Carrillo, 115 F.3d 1540, 1543
C11" Cir. 1997): holding that nationwide analysis is only applied “where service of
process has been effected pursuant to [the] federal statute authorizing nationwide or
worldwide service’),

A nationwide analysis would be appropriate, however, under Federal Rule of
Civil Procedure 4(k)(2), if it applies. Although not cited as a basis for jurisdiction in
their Complaint, Plaintiffs have invoked that rule in response to other defendants’
motions to dismiss. Rule 4(k)(2) has been interpreted to allow for “service on foreign
defendants for claims arising under federal law where the defendant has minimum
contacts with the United States as a whole but does not have sufficient contacts with
any single state to satisfy the long-arm statute of such a state. (See In re Vitamins
Antitrust Litig., 120 F. Supp.2d 58, 72 (D.D.C. 2000) citing United States v. Swiss Am.
Bank, Ltd., 191 F.3d 30, 41 (1 Cir. 1999); see also Dardana Ltd. y. Yuganskneftegaz,
317 F.3d 202, 207, (2d Cir. 2003).

Rule 4(k)(2) also fails to provide personal jurisdiction over Yeslam Binladin,
however, because Plaintiffs have failed to make a prima facie case that Yeslam
Binladin’s contacts with the nation as a whole suffice to satisfy the applicable
constitutional requirements. (See In re Vitamins Antitrust Litig., 120 F. Supp.2d at 72:
Core-tek Prods., Inc. y. Air & Sea Transp. SRL, no 98 Civ. 8270, 1999 US. Dist.
LEXIS 11537, at *3-4 (S.D.N.Y, July 29, 1999)). Courts applying Rule 4(k)(2) have
“engaged in the traditional minimum contacts analysis based on an aggregation of the
defendant’s [nationwide] contacts” (See Aerogroup Int'l, Inc. v. Malbora Footworks
Ltd., 956 F. Supp. 427, 439 (S.D.N.Y 1996); see also Chew v. Dietrich, 143 F.3d 24,

* Although the RICO claims have been dismissed from this case, the same is true of RICO. Because “RICO does
not provide for international service of process....””[P]laintiffs asserting RICO claims against foreign defendants
must rely on the long-arm statute of the state in which they filed suit” First Capital Asset Mgmt, Inc. v.
Brickelbush, Inc, 218 F. Supp. 2d 369, 392 (S.D.N.Y. 2002) (quoting Laborers Local 17 Health & Benefit Fund
v. Philip Morris Inc., 26 F. Supp. 2d 593, 601 (S:D:N:Y 1998) footnotes omitted).
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28 n.4 (2d Cir, 1998); World Tanker Carriers Corp. v. M/V Ya Mawlaya, 99 F.3d 717,
723 (5" Cir, 1996); COMSAT Corp. y. Finshipyards S.A.M, 900 F. Supp. 515, 525
(D.D.C. 1995)). So deficient are Plaintiffs’ allegations, however, that the expanded
geographic scope of the minimum contacts analysis under Rule 4(k)(2) does nothing to
bolster the Plaintiff's claim that this Court may constitutionally exercise personal
jurisdiction over Yeslam Binladin,

Personal Jurisdiction is determined on a defendant-by-defendant basis. Yeslam
Binladin is named in the Complaint solely in his alleged role as an officer or director
of Mohammed Binladin Organization (“MBO”), described by Plaintiffs as an affiliate
of Saudi Binladin Group (“SBG”) GAC § 325). As a general rule, “personal
Jurisdiction over the employees or officers of a corporation in their individual
capacities must be based on their personal contacts with the forum and not their acts
and contacts carried out solely in a corporate capacity. (See Wiggins y. Equifax, Ine.,
853 F. Supp. 500, 503 (D.D.C. 1994)). Because Plaintiffs here have failed to allege a
single jurisdictional contact attributable to Yeslam Binladin, much less any his
personal capacity, jurisdiction over him fails. (See Richard v. Beil Atl. Corp., 946 F.
Supp. 54, 73-74 (D.D.C. 1996): “dismissing for want of specific facts supporting

Jurisdiction over individual officers and employees”’).

B. Yeslam Binladin Did Not “Purposefully Direct” His or Any Conduct At the
United States

Plaintiffs cannot argue that Yeslam Binladin brought himself within the
jurisdiction of this Court because he “purposefully directed” or “expressly aimed” his
allegedly tortuous conduct at the United States. In support of such an argument as the
other defendants, Plaintiffs principally rely on Burger King v. Rudzewicz, 417 US.
462 (1985) and Calder v. Jones, 465 U.S. 783 (1984). In the D.C. District Court, Judge
Robertson already found such a theory of jurisdiction unpersuasive as to a defendant

“whose actions [may] have led to terrorist activity in the United States... whether or
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not he himself has targeted the United States”. (Burnett v. Al Baraka Inv. & Dev. Corp,
No. CIV. A. 02-1616, 2003 WL 22683337, at *11 (D.D.C. Nov 14, 2003) (Burnett
f)). Specifically, that Court acknowledged that under Burger King “it is essential in
each case that there be some act by which the defendant purposefully avails itself of
the privilege of conducting activities within the forum State, thus invoking the benefits
and protections of its laws” (quoting Burger King, 471 US. at 475, emphasis added).
The Burger King decision emphasized the bottom line “the constitutional touchstone
[for personal jurisdiction] remains whether the defendant purposefully established
‘minimum contacts’ in the forum State” (Burger King, 471, U.S. at 474, internal
citation omitted). To that end, the exercise of personal jurisdiction in Burger King was
founded on the defendant’s specific actions that created a “substantial connection”
with the forum (Burger King, 471, U.S. at 475-6). In fact, the Court devoted much of
its opinion to enumerating and evaluating the defendant’s contacts with the forum
(Burger King, 471, U.S. at 479-81).

Plaintiffs cannot escape that minimum contacts inquiry simply by alleging
involvement in au intentional tort committed within the forum. Again, as Judge
Robertson has already recognized, Calder does not support the exercise of personal
Jurisdiction on that basis. (See Burnett IT, 2003 WL 22683337, at * 10-11). To the
contrary, the courts of appeals have observed that “Twle do not believe that the
Supreme Court, in Calder, was saying that any plaintiff may hale any defendant into
court in the plaintiff's home state, where the defendant has no contacts, merely by
asserting that the defendant has committed an intentional tort against the plaintiff.”
(See Wallace v. Herron, 778 F.2d 391, 394 (7" Cir. 1985), cert. Denied, 475 U.S.
1122 (1986); see also Far West Capital v. Towne, 46 F. 3d 1071, 1078 (10" Cir.
1995): stating that courts applying Calder “have not created a per se rule that an
allegation of an intentional tort creates personal Jurisdiction.”).

In any event, the 3AC falls drastically short of alleging that Yeslam Binladin’s
actions, if any, were “expressly aimed” or “purposefully directed” at the United States,
nor does it in any way indicate how his alleged conduct could be constructed as such.

Notably, the allegations against Prince Sultan, which Judge Robertson found
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insufficient, were far more concrete’. Plaintiffs’ briefs against Prince Sultan
specifically identified the entities to which he is alleged to have donated and what
those entities were allegedly doing with the money donated by Prince Sultan. Most
importantly, Plaintiffs also explained how those entities Operated and maintained
offices in United States, and by through those facts how Prince Sultan’s cunduct could
be constructed as “purposefully directed” at the United Sates. Plaintiffs fail to allege

even a single act of Yeslam Binladin that was directed at The United States.

C Plaintiffs Cannot Establish Personal Jurisdiction on a Conspiracy Theory of

Jurisdiction

Having been unable to establish the necessary minimum contacts, Plaintiffs will
likely attempt to persuade this Court that it may exercise personal jurisdiction over
Yeslam Binladin under a conspiracy theory of jurisdiction®. That attempt is
fundamentally flawed. First, no court in the D.C. Circuit has ever recognized
conspiracy jurisdiction where the defendant has contested the existence of conspiracy:
“approval |of a conspiracy theory of Jurisdiction] has been given only in cases where
the defendant has not contested the existence of the conspiracy” (See United States v.
Philip Morris Inc., 116 F. Supp. 2d 116, 122 (D.D.C. 200). Second, even if conspiracy
jurisdiction is available, Plaintiffs’ allegations fali woefully short of the necessary
showing to establish personal jurisdiction on that basis. Mere conclusory allegations
are not sufficient. (See Second Amendment Found., 274 F.3d at 524: “The allegation
that the [defendants] ‘conspired together’ represents nothing more than a legal
conclusion, which we have held ‘does not constitute the prima facie showing

necessary to carry the burden of establishing personal jurisdiction.”; Naartex vy. Watt,

* See Pl. Opp to Sultan Mot. To Dis. At 34 (June 16, 2003); Pl. Sur-Reply Opp. To Sultan Mot. To Dis at 29
(Sept. 2, 2003).

* The conspiracy theory of jurisdiction is premised on imputing the acts of one conspirator, over whom the court
has jurisdiction, to other participants in the conspiracy. See In Re Vitamins Antitrust Litig., no 99-197, 2001
U.S. Dist. LEXIS 25073, at * 42 (D.D.C. Oct. 30, 2001). Jurisdiction is based on the conspirators’ contacts with
the forum under either the appropriate long-arm statute or in this case, Rule 4(k}(2).
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722 F.2d 779, 787-88 (D.C. Cir. 1983): rejecting “bald speculation” and “bland
assertions” of conspiracy as a basis for personal jurisdiction; Lehigh Valley Indus. V.
Birenbaum, 527 F2d 87, 93-94 (2d Cir. 1975): “the bland assertion of conspiracy is
insufficient to establish personal jurisdiction”; Nweke y. Prudential Ins. Co., 25 F.
Supp. 2d 203, 219 (S.D.N.Y. 1998: “Conchisory allegations are insufficient to meet
the somewhat stringent pleading requirements of this Circuit when conspiracy is
alleged”.).

Indeed, “[w]hile the pleading standard under Rule 8 is a liberal one, mere
incantation of the words ‘conspiracy’ or ‘acted in concert’ does not satisfy the Rule’s
requirements” (See Galerie Gmurzynska vy, Hutton, 257 F. Supp. 2d 621, 631
(S.D.N.Y. 2003); see also Caraveo v. Nielson Media Research, Inc., No 01 Civ. 9609,
2003 WL 169767, at *4 (S.D.N.Y. Jan. 22, 2003): “conclusory allegations of
conspiracy ... do not meet the standards of pleading a conspiracy claim”). The
Plaintiffs here have failed to meet even this low threshold. In fact, the Plaintiffs have
pleaded nothing more than the plaintiff in Hutton: they have simply included the
words ‘conspiracy’ and ‘acted in concert’ while omitting any facts supporting an
inference that Yeslam Binladin entered into any such conspiracy.

A more cautious approach is especially warranted when plaintiffs attempt — as
they do here -- to have this court exercise personal jurisdiction over an alleged co-
conspirator who is an alien, in light of “Supreme Court’s admonishment that ‘great
care and reserve should be exercised when extending our notions of personal
jurisdiction into international field.” (See Dooley v. United Tech. Corp., 803 F. Supp.
428, 434 (D.D.C. 1992) (quoting Asahi, 480 U.S. at 115); see also Galerie
Gmurzynska, 257 F. Supp. 2d 627: “When a court bases personal jurisdiction on
effects in a state caused by acts done elsewhere it must proceed with caution,
particularly in the international context” (internal quotation and citation omitted)). In
Dooley, to support personal jurisdiction, the plaintiff set forth, in extraordinary detail,
his allegations of conspiracy and each defendant’s alleged involvement. He has
catalogued numerous meeting allegedly held by the co-conspirators, and in many

instances, describes discussions which took place (See Dooley v. United Tech. Corp.,
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786 F. Supp. 65, 78 (D.D.C. 1992). Here, in contrast, Plaintiffs’ allegations with
respect to Yeslam Binladin’s Participation in a conspiracy amount to nothing more

than legal conclusions bereft of any factual underpinnings to support personal
Jurisdiction over this alien defendant.

II. PLAINTIFFS HAVE NOT ADEQUATELY PLEADED A CLAIM

AGAINST YESLAM BINLADIN UNDER THE ANTI-TERRORISM
ACT, 18 U.S.C. § 2333

Plaintiffs have failed to allege facts sufficient to plead a claim under the ATA
against Yeslam Binladin on either a primary liability or joint tort theory. There are no
allegations that Yeslam Binladin provided funding or other material support to any
terrorist groups. Contrats Boim v. Quranic Literacy Inst. & Holy Land Found., 291
F.3d 1000, 1004 (7" Cir. 2002): “permitting ATA claim where plaintiffs alleged that
defendant charities provided funds to Hamas that were used to purchase vehicle,
weapons and ammunition used in murder of plaintiff's decedent, as well as to pay a
stipend to one of the attackers”, Indeed, Plaintiffs do not even allege, as they do with
respect to other defendants in this litigation, that Yeslam Binladin contributed to
charities that funneled money to terrorists. Instead, plaintiffs base their claim primarily
on the SBG alleged support of the U.S.-backed Afghan freedom fighters during the
1980s, on SBG’s involvement in two legitimate construction projects in Sudan in the
early 1990s and on Yeslam Binladin’s role as an officer or director of MBO, described
by Plaintiffs as an affiliate SBG GAC § 325), none of which they even attempt to
connect to terrorist activities of any kind, let alone the September 11 attacks. Beyond
that, Plaintiffs simply string together loose and disconnected relations in an attempt to
associate Yeslam Binladin in with alleged terrorists. Those allegations, taken
individually or together, are inadequate to state a claim for relief under the ATA. The
Court should dismiss Plaintiffs’ ATA claim, which is based not on inferences drawn
from facts stated in the Complaint but instead on pure conjecture regarding what

Yeslam Binladin might has known or has done.
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A Plaintiffs Have Failed to Establish Primary Liability Under the ATA

The ATA allows “any national of the United States injured his or her person,
property or business by reason of an act of international terrorism” to assert a claim
against defendants involved in perpetrating that act. 18 U.S.C. § 2333. In the first
appellate case applying the ATA, the Seventh Circuit found that the term
“international terrorism” defined in 18 U.S.C. § 2331(1), encompassed knowingly and
intentionally providing funds or other material support® for terrorist activities. (See
Boim, 291 F.3d at 1011-12; see also Slip Op. at 37-38). To be actionable under § 2333,
however, plaintiff must have been injured “by reason of” the defendant’s conduct,

While it is clear the Plaintiffs were injured by reason of the September 11 attacks
and those attacks meet the ATA’s definition of international terrorism, it is just as
clear that Yeslam Binladin did not and is not alleged to have participated in any way in
those attacks. Therefore, to establish primary liability under ATA — that is, without
resort to joint tort theories of aiding and abetting or conspiracy — Plaintiffs must allege
that Yeslam Binladin knowingly and intentionally provided material support to

terrorism, by reason of which Plaintiffs were injured.

1. None of the Facts Alleged in the Complaint Support an Inference That Yeslam

Binladin Provided Material Support to Terrorism

Plaintiffs’ attempt to make a claim of primary liability under ATA fails first
because Yeslam Binladin alleged conduct cannot, as a matter of law, constitute
material support of terrorism. To constitute an actionable act of international terrorism
under the Boim formulation, material support must be given to terrorist organizations

or to further terrorism. (See Boim, 291 F.3d at 1016: finding that “Congress considered

* Material Support or resources is defined to include “currency or monetary instruments or financial securities,
financial services, lodging, training, expert advice or assistance, safehouses, false documentation or
identification, communication equipment, facilities, weapons, lethal substances, explosives, personnel,
transportation, and other physical assets...” 18 U.S.C. §2339A(b)
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the provision of material Support to terrorists an act of international terrorism”), The
vast majority of the conduct alleged of the conduct alleged as to Yeslam Binladin,
however, has no alleged or actual connection to terrorism of any kind. The ONLY
allegation by Plaintiffs of Yeslam Binladin’s alleged complicity in the charged
conduct — and apparently the entire basis of Plaintiffs’ Jurisdictional claim against this
defendant — is through Yeslam Binladin’s alleged position on the board of directors of
MBO, a subsidiary of SBG. Yeslam Binladin is alleged by Plaintiffs to have done
absolutely nothing, to have committed no act, nor have exercised any conduct
whatsocver (3AC 9325). He is in this complaint simply because his alleged to be a
member of board of directors of MBO.’

Plaintiffs allege simply that Mohammed Jamal Khalifa, who they claim was a
known figure in international terrorist networks, was “taken in” by the Mohammed
Binladin Organization (“MBO”), a SBG subsidiary. Yeslam Binladin is alleged to be
a member of the MBO board (3AC ¥ 325). This allegation is far too vague to suggest
any material support. Plaintiffs further allege that Khalifa used MBO’s address on a
visa application (3AC § 324), however Plaintiffs do not allege that MBO or SBG
affirmatively acted to assist Khalifa.

Without any allegations that Yeslam Binladin knowingly took any affirmative
acts to assist any terrorist activities that Osama Bin Laden or al Quaeda might have
engaged, these allegations cannot Support a material support theory against Yeslam
Binladin. Similarly, Plaintiffs allege several visits by Binladin Family members to
Osama Bin Laden while he lived in the Sudan, but fail to offer any explanation of how
these visits involve the provision of material Support (3AC § 318). There is no
allegation whatsoever that Yeslam Binladin was one of those family members who
ever visited Osama Bin Laden in the Sudan.

Plaintiffs also appear to allege indirectly that Tariq Binladin, a member of the

board of directors of MBO, provided material support for terrorism, but that attempt

’ The entirety of the allegation against Yeslam Binladin can be found at 3AC ¥ 325; it reads: “The Mohamed
Binladin Organization is a wholly-owned subsidiary of the Saudi Binladin Group The board members include
Saleh Gazaz, Mohamed Bahareth, Abdullah Bin Said, Mohamed Nur Rahimi, Bakr M. bin Laden, Tarek M. bin
Laden, Omar M. bin Laden, and Yeslam M. bin Laden.”
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fails as a matter of law and, whether in law or fact, has no application to Yeslam
Binladin whatsoever. Plaintiffs allege that Tariq Binladin was the “general supervisor”
of the IIRO”[I]n the early 1990s” and that he “had a prominent role in 1990” (3AC
§316-327). Even if the IIRO may have later been linked to terrorism, these allegations
simply cannot support an inference that Tariq Binladin, or one of the other membets of
the board of MBO, provided material support to terrorism. Although Plaintiffs allege
that the IIRO is “a charity that has aided and abetted and materially supported al
Quaeda and international terrorism” (3AC §326), they allege nothing that would link
Tariq lo any such activities — and certainly nothing to link any such activities to
Yeslam Binladin. Indeed, Plaintiffs themselves describe Tariq Binladin’s role in the
IIRO as follows: “He has been working quietly for the orphans and the immigrants in
the Islamic world” (3AC 327). Moreover, even if Plaintiffs had a claim against Tariq
Binladin, it could not be extended through vicarious liability to MBO or SBG because
there is no allegation to support an inference that Tariq Binladin’s role alleged in the
IIRO was undertaken within the scope of his MBO or SBG employment (See Slip OP.
at 45: “noting that to impose vicarious liability on a company for acts of its officers,
plaintiffs must make allegations that would support an inference that the officer was

acting within the scope of his employment”).

2 Even if Yeslam Binladin Alleged Conduct be Constructed as Material Support of

Terrorism, the Plaintiffs Were Not Injured “By Reason of” That Conduct

Even if Plaintiffs’ allegations were sufficient to establish that Yeslam Binladin
provided material support to terrorism, their ATA claim would fail as a matter of law
because they have not adequately pleaded that they suffered their injured “by reason
of” the Yeslam Binladin’s conduct. The ATA, patterned on the Racketeer Influenced
and Corrupt Organizations Act (“RICQ”), creates a cause of action only for injuries
sustained “by reason of” a defendant’s act of international terrorism. 18 U.S.C. § 2333.

As this Court recognized, this statuary languages has, as it has in RICO, been
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understood to require proximate causation. (See Slip OP. at 35, 39-40; see also Boim,
291 F.3d at 1011). In doing so, the statute requires not simply foreseeability but also a
direct connection between the defendants’ alleged conduct and plaintiffs injuries®,
‘Thus, in constructing identical “by reason of” language in RICO, the Supreme Court
held that this formulation “demand[s]... some direct relation between the injury
asserted and the injurious conduct alleged”. (See Holmes v. Sec. Investor Prot. Corp.,
503 U.S. 258, 268 (1992); see also First Am. Corp. v. Al-Nahyan, 17 F. Supp. 2d 10,
22 (D.D.C. 1998): “Proximate cause requires a direct relation between the defendant’s
conduct and the plaintiffs harm...”), Holmes constructed this language in RICO
consistent with the settled interpretation of similar language under the Clayton Act.
(See Holmes, 503 U.S. at 267-69). As Boim recognized, for the same reason the ATA
should be constructed with reference to the settled interpretation of identical language
in the RICO context. (See Boim, 291 F.3d at 1011°.

It is appropriate for the Court to decide this issue at the pleading stage. The D.C.
Circuit, for example, has upheld a motion to dismiss where a complaint “pleads no fact

suggesting ‘some direct relation between the injury asserted and the injurious conduct

alleged’ — in other words, proximate causation’. (See Browning, 292 F.3d at 248: see

* “(t]he direct injury test is not the sole requirement of proximate causation”. Laborers Local 17 Health &
Benefit Fund v. Philip Morris, dnc., 191 F.3d 229, 235-36 (2d Cir. 1999). The traditional rules of proximate
causation also require that “plaintiff's injury was reasonably foreseeable”, id: see also Boim, 291 F.3d at 1012;
Halberstam v. Welch, 705 F.2d 472, 484 (D.C.Cir 1983), and that the defendant’s conduct was a “a substantial
factor in the sequence of responsible causation”. Oki Semiconductor Co. v. Wells Fargo Bank, 298 F.3d 768, 773
(9° Cir. 2002) (quoting Cox v. Admin. United Sates Steel & Carnegie, 17 F.3d 1386, 1399 (11" Cir, 1994)); see
also Meng v. Schwartz, 116 F. Supp. 2d 92, 96 n.4 (D.D.C. 2000: “a defendant [RICO violations] proximately
cause [a] plaintiff's injuries when such acts are substantial factor in the sequence of responsible causation and
where the plaintiff's injury was reasonably foreseeable or anticipated as a natural consequence of those
acts”(emphasis added)), aff'd 48 Fed Appx. 1, 2, 2002 WL 31248491 (D.C. Cir, Oct. 7, 2002); BCCI Holdings
(Luxembourg), SA v. Khalil, 56 E. Supp. 2d 14, 56 (D.D.C. 1999)(same), aff'd in relevant part, 214 F. 3d 168,
173-74 (D.C.Cir. 2000).

° The same “direct relationship” requirement as an element of proximate causation finds support in international
terrorism cases brought under the Alien Tort Claims Act (“ATA”), the Torture Victim Protection Act (“TVPA”),
and the Foreign Sovereign Immunities Act (“FSIA”). For example, this Court recently rejected an FISA claim on
causation grounds because while “plaintiffs ha[d] established the (defendant) Iran provided extensive support to
HAMAS, ... their proof [did] not tink that support to the Ungar murders specifically”, Ungar v. islamic Republic
of Iran, 211 F. Supp. 2d 91, 99, (D.D.C. 2002). This Court also rejected an ATCA claim where “Jt}he assert links
between [Defendant] Haddam and the acts committed by armed Islamic groups against civilians [were] much too
tenuous” because the plaintiffs had failed to “directly link[] Haddam” to the injurious acts. Doe v. Islamic
Salvation Front, 257F., Supp. 2d 115, 121, 123 (D.D.C. 2003). Similarly, the Fifth Circuit affirmed the dismissal
of an ATCA complaint where plaintiff failed to “demonstrate any causal connection between [defendant’s]
conduct and {plaintiff’s] prolonged imprisonment and torture”. Carmichael v. United Tech, Corp., 835 F.2d 109,
115 (5" Cir, 1988),
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also Caraballo v. United States, 830 F.2d 19, 22 (2d Cir. 1987): stating that where the
actual cause of plaintift’s injury is undisputed, whether the defendant’s conduct was
the proximate cause of the injury is a question of law for the court). Indeed, because
under ATA proximate cause is not just an element of the prima facie case but is rather
a requirement of Plaintiffs’ standing, the Court should conduct a careful inquiry at the
pleading stage. The “by reason of” requirement in both ATA and RICO appears under
the heading of “action and jurisdiction” and specifically limits the ability of a plaintiff
to maintain a claim. It is thus an element of standing: “The Supreme Court has
explained these injury and causation requirements as aspects of Standing, rather than
elements of civil RICO plaintiff's prima facie case”. (See Chisolm v. TranSouth Fin.
Corp., 95 F. 3d 331, 337 n.6 (4" Cir, 1996) (quoting Brandenburg v. Siedel, 859 F.2d
1179, 1187 (4" Cir. 1988) overruled on other grounds by Quackenbush v. AUstate, 517
U.S. 706 (1996); citing Sedima, S.P.R.L. v. Imrex Co. Inc., 473 U.S. 479, 496-97
(1985)). Therefore, notwithstanding the permissive standards of notice pleading under
the federal rules, the failure to allege facts establishing proximate causation under the
ATA ~ just as under RICO — mandates dismissal. (See Lerner v. Fleet Bank, NA, 318
F.3d 113, 122 (2d Cir. 2003): affirming dismissal of RICO claims and stating: “As
plaintiffs cannot show that the defendants’ alleged [RICO] violations... proximately
caused their injuries, they lack standing to pursue their RICO claims.”), petition for
cert, Filed, 72 U.S.L.W. 3129 (U.S. Aug. 5, 2003) (No. 03.189).

It is for this reason that the absence of proximate cause in such cases is often
determined, in this circuit and elsewhere, upon a motion to dismiss. (See, e.g.
Browning, 292 F.3d at 248: requiring dismissal of RICO claim for failure to allege
facts suggesting a direct relation between the injury and the defendant’s conduct); see
also Oki Semiconductor Co. v. Wells Fargo Bank, 298 F. 3d 768, 774 (9" Cir. 2002):
same; Serv. Employees Int'l Union Health & Welfare Fund v. Philip Morris Inc., 249
F.3d 1068, 1069 (D.C. Cir. 2001: same, cert. denied, 534 U.S. 994 (2001); Newton v.
Tyson Foods, inc, 207 F.3d 444, 447 (8"" Cir 2000): same; Giro v. Banco Espanol de
Credito, SA, No 99-7883, 2000 WL 287694, at *2 (2d Cir. Mar. 17, 2000): same;

Brandenburg, 859 F. 2d at 1189: “the legal cause determination is properly one of law
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for the court, taking into consideration such factors as the foreseeability of the
particular injury, the intervention of other independent causes, and the factual
directness of the casual connection”); Bona vy. Barasch, No 0) Civ. 2289, 2003 WL
1395932, at * 24 (S.D.N.Y. Mar. 20, 2003): dismissing RICO claims because civil
RICO requires “a direct connection between the injury asserted and the injurious
conduct alleged” and “[a]bsent such a direct connection, a plaintiffs has no standing to
bring a RICO suit” (citation and quotations omitted); Greenwald v. Hall, No 01 Civ.
5405, 2003 WL 164279. at *1 (S.D.N.Y. Jan. 23, 2003): same).

Here, as in those cases, Plaintiffs fail to allege a direct link between Yeslam
Binladin’s conduct and Plaintiffs’ injuries. Plaintiffs’ vague and conclusory assertions
that the acts of all “Defendants” “proximately caused” their injuries, which were
“reasonably foreseeable”, are insufficient. (See Mountain States, 306 F. 3d at 1134-
35; “the court need not accept.. .legal conclusions cast in form of factual allegations’).
Moreover, the specific allegations made against Yeslam Binladin fail to indicate any
link, much less a direct one, between his alleged conduct and the September 11 attacks
that injured Plaintiffs and many others. As already discussed above, the sole allegation
against Yeslam Binladin focuses only on his position as a member of the board of
MBO, an SBG subsidiary. Putting aside the fact that these allegations fail even to
allege wrongdoing, it is clear that these alleged acts lack any connection, much less a
direct one, to the September 11 attacks.

Plaintiffs themselves have acknowledged that proximate cause at a minimum
requires some ongoing support of al Qaeda after it began targeting the United States.
(See Pl. Opp. to Prine Turki Mot to Dismiss at 53 (July 2003): suggesting that
Plaintiffs must allege that defendant “supported al Qaeda during the period when it
was targeting the United States” in order to state a claim; see also Tr.of June 24, 2003
Motions Hearing (“Hearing Tr”) at 75-78: Plaintiffs attorney Ronald Motley stated
that if Plaintiffs are required to link defendants’ support directly to September 11 then
“we don’t have a case against most of these defendants” Id, at 78:2).

Nothing in the Complaint links the September 11 attacks to Yeslam Binladin’s

other alleged conduct either. As already explained above, allegations regarding Khalifa
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and isolated and distant contact to Osama Bin Laden by others -- NOT by Yeslam
Binladin -- have nwo alleged connection with terrorism of any kind, let alone the

September I] attacks. Therefore, the Complaint fails to adequately allege the requisite

proximate causation and must be dismissed.

3. Criminal Prohibitions on Support to Terrorist Group Do Not Relieve Plaintiffs of

the Burden to Plead a Direct Link Between Yeslam Binladin’s Conduct and the

Plaintiffs’ Injuries

In search of a way to eliminate the direct link requirement, Plaintiffs go beyond §
2333 to the criminal provisions of the ATA. This approach finds no support in Boim,
The Seventh Circuit did look to §§2339A and 2339B, but it considered them “relevant
to the [civil] claim only to extent that [they] help[] define what conduct Congress
intended to include in its definition of ‘international terrorism’. Boim, 291 F.3d at 1025
(emphasis added). Plaintiffs use the ATA’s criminal provisions for a much different
purpose — to obviate §2333’s other elements. Neither the text of the statute nor Boim
sanctions that.

Plaintiffs also erroneously rely on a wholly inapposite case. Humanitarian Law
Project v. Reno, 205 F.3d 1130 (9" Cir. 2000). That case interprets only 18 U.S.C.
§2339B, one of the criminal provisions of the ATA, and stands for a very simple
premise: it is constitutionally permissible for Congress to criminalize the provision of
material support to terrorist organizations.(See Humanitarian Law Project, 205 F.3d at
1133-37). That much is clear. But Humanitarian Law Project says nothing about the
requirements of §2333. To bring a claim for civil liability arising out of the conduct
proscribed in §2339B, §2333’s plain text requires not only that the defendant engaged
in conduct constituting “an act of international terrorism”, but also that the Plaintiffs
Were injured “by reason of” That act. Neither §2339R nor Humanitarian Law Project,

even purport to alter that requirement.
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Plaintiffs point to an additional criminal provision, §2339C that is equally
irrelevant (See Pl. Opp. to SBG Defendants’ motion to dismiss, at 15 n.8). That
provision, enacted after September 11, 2001 criminalizes the collection or provision of
funds with the intention that those funds be used to carry out a terrorist act and
provides that “[f]or an act to constitute an offense set forth in this subsection, it shall
not be necessary that the funds were actually used to carry out a predicate act”. 18
U.S.C. § 2339C(a)(3). By its terms, that provision reaches only “this subsection”,
§2339C, and therefore has no impact on civil liability under § 2333. Moreover,
Congress’ intention to hold an individual criminally liable for financing terrorism even
if the money was never actually used to commit a terrorist act Says nothing about civil
liability. Indeed, reading this intention into § 2333 would render it nonsensical because

it would eliminate the prerequisite of the terrorist act that gives rise to Plaintiffs’

injuries and therefore to their right to sue.

B. Plaintiffs Cannot State an ATA Claim Based on a Joint Tort Theory
Absent allegations to establish any material support for terrorism, Plaintiffs are

left to rely on the joint tort theories of aiding and abetting or conspiracy. As to Yeslam

Binladin, however, the Plaintiffs’ allegations do not state a claim under either theory.

1. Plaintiffs Have Failed to Adequately Allege an Aiding an Abetting Claim Against

Yeslam Binladin

Plaintiffs’ attempt to state a claim for aiding and abetting under the ATA fails on

the key element of “substantial assistance” to underlying tort”’’. As the Court has

' Plaintiffs” aiding and abetting claim also fails because they fail to allege facts that support an inference that
Yeslam Binladin acted knowingly (see infra III(A)(2)). Proximate cause is no less required under Plaintiffs’ joint
tort theories than in a primary violation of the ATA. (See Smith v. Islamic Emirate of Afghanistan, 262 F Supp.
2d 217, 226-227 (S.D.N.Y. 2003): reading Boim to require proximate cause for adding and abetting claim.; see
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recognized, this element requires the Plaintiffs to demonstrate that a defendant’s
alleged conduct substantially assisted the particular act that injured the Plaintiffs: the
September 11 attacks. (See Slip Op. at 34: noting that the Plaintiffs’ allegation that Al-
Haramain financed al Qaeda in 2001 supports an inference that such financing “helped
pay for the September 11 attacks”: see also Ungar v. Islamic Republic of Iran, 211 F.
Supp. 2d 91, 98 (D.D.C. 200): Plaintiffs must show “that the [defendant’s] ‘knowing
and substantial assistance’ extended to the principal violation’ — the attack on the
[plaintiffs] to establish aiding and abetting liability”; Halberstam v. Welch, 705 F.2d
472, 477.78 (D. C. Cir. 1983): citing among the elements of aiding and abetting the
requirement that the defendant “substantially assist[ed]” in the commission of the
tortuous or unlawful act that caused the Plaintiffs’ injuries; see also Boim, 291 F.3d at
1020-21: citing Halberstam for the elements of civil aiding and abetting). Here,
however, Plaintiffs’ allege absolutely no facts whatsoever to support an inference that
Yeslam Binladin helped pay for or otherwise provided substantial assistance to Osama
Bin Laden, al Qaeda, or anyone else in connection with the September 11 attacks that
caused Plaintiffs’ injuries.

Even under liberal pleading rules, Plaintiffs cannot state an aiding and abetting
claim simply by repeating the general, conclusory allegation that defendant as a group
“aided [and] abetted... acts of international terrorism” (See 3AC §650: see also 3AC
§§ 649, 684). Such allegations are impermissibly conclusory and unsupported by any
facts. (see Mountain States, 306 F.3d at 1134-35; Browning, 292 F. 3d at 242.) failure
to allege specific facts warrants dismissal at the pleading stage. (See e.g., Atlanta
Shipping Corp. v. Chemical Bank, 818 F.2d 240, 251 (2d Cir. 1987): affirming
dismissal of aiding and abetting claim for lack of allegations that defendant
purposefully assisted in the accomplishment of alleged illegal scheme; Landy v. Fed.
Deposit Ins. Corp., 486 F.2d 139, 163 (3d Cir. 1973): dismissing aiding and abetting

also Aetna Cas. & Sur. Co. v. Leahey Constr. Co.. 219 F.3d 519, 537 (6" Cir 2000): “the alleged substantial
assistance must be the proximate cause of the plaintiff's harm”, Meige v. Baehler, 762 F.2d 621, 624 (8" Cir.
1985): plaintiffs have burden of showing a “substantial causa! connection between the culpable conduct of the
alleged aider and abettor and the harm to the plaintiff’, internal quotations omitted; Ungar, 211 F. Supp. 2d at
99: in denying default judgment for aiding and abetting claim, court held that plaintiffs must show that “the acts
of the defendants were a necessary condition or ‘but for’ cause of the” plaintiffs’ injuries).
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claim because complaint failed to allege substantial assistance in the underlying tort:
Overseas Private Investment Corp. (OPIC) v. Industria de Pesca, N.A., lnc., 920 F.
Supp. 207, 210 (D.D.C. 1996) : dismissing aiding and abetting claim because plaintiffs
failed to allege conduct that constitutes substantial assistance).

Plaintiffs’ specific allegations include no facts supporting a connection between
Yeslam Binladin and the September 1] attacks, let alone facts that support an
inference that Yeslam Binladin provided substantial assistance to those attacks. The
Court in this case found support for an inference of substantial assistance by defendant
Al-Haramain based on allegations that it had funded al Qaeda in 2001, which the
Court found to be “a temporal allegations that does not prove but provides support for
a inference that Al-Haramain’s money helped pay for the September 11 attacks, (Slip
Op. at 34). Plaintiffs allege nothing of kind with respect to Yeslam Binladin.

The allegation that Khalifa listed the address of MBO on a visa application
cannot sustain a finding of substantial assistance, both because there is no alleged
connection to any terrorist acts, and more fundamentally, because the allegation does
hot involve any affirmative conduct on the part of Yeslam Binladin. (See OPIC. 920 F.
Supp. At 210: dismissing aiding and abetting claim where plaintiffs fail to allege
affirmative conduct by defendant in aid of the underlying tort).

The only allegations with respect to Yeslam Binladin that even arguably relate to
the September 11 attacks are the allegations that unspecified Binladin members have
had limited contact with Osama Bin Laden — who was obviously involved in the
attacks - at unspecified points prior to 1997. The Complaint alleges that “fijn a 1997
interview, Osama Bin Laden revealed that on nine different occasions, his mother,
uncle and brothers had visited him in Khartoum in Sudan” (3AC §318). These
allegations are combined with the rank speculation of a Dr. Saad Al F agih to suggest a
“close” relationship between some of the brothers of Osama Bin Laden to Bin T aden
himself, notwithstanding the public break between the family and Osama Bin Laden in
1993 (3AC § 317). There is however, not even a suggestion that Ycslam Binladin was
one of the brothers who maintained contact with Osama Bin Laden. These allegations

fall well short of alleging the connection necessary to establish substantial assistance
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to September 1] attacks. As is clear from the fact that the interview relied on by the
Plaintiffs took place in 1997, these visits took place years before September 11, 2001.
Further, no facts are pleaded from which to infer any assistance to terrorist activities,
Even construing these allegations most generously to Plaintiffs does not help their
aiding and abetting claim. The D.C. Circuit warned that a family relationship between
the defendant and the principal tortfeasor is cause for a court to be vigilant against
confusing the normal activities of a family member with assistance rising to level
sufficient to find joint liability.(See Halberstam, 705 F.2d at 484, 488; see In re TMJ
Implants Prods. Liab. Litig., 113 F.3d 1484, 1496 (8” Cir. 1997): declining to give
weight to parent company’s relation to a subsidiary company without further evidence
of support; noting Halberstam’s caution against overemphasizing family relationship).
Without any allegations of tangible assistance to Osama Bin Laden’s or al Qaeda’s
terrorist activities, much less the September 11 attacks, Plaintiffs cannot maintain a
suggestion, let alone a claim, that Yeslam Binladin aided and abetted those attacks

simply through vague allegations of family connections.

2. Plaintiffs Have Not Adequately Alleged That Yeslam Binladin Participated in a

Terrorist Conspiracy

Plaintiffs’ complaint also fails to allege that Yeslam Binladin participated in a
conspiracy to commit or support any act of international terrorism. In the same way
that aiding and abetting liability turns on the provisions of substantial assistance,
conspiracy liability turns on the existence of an agreement. (See Halberstam, 705 F.2d
at 479: “the essence of conspiracy is an agreement”; Ungar, 211 F. Supp. 2d at 99:
“conspiracy hinges upon proof of an agreement to participate in tortuous conduct”,
internal quotation omitted). Indeed, it is this element of agreement that allows liability
for civil conspiracy to stretch farther temporally and physically because the agreement
“substitute[s] for the ‘substantiality’ of an aider-abettor’s assistance in carrying out the

violation.”.(See Halberstam, 705 F.2d at 485). Although, as this Court noted, there is
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no heightened pleading standard applicable to conspiracy claims (Slip Op. at 48), such
claims may not rest on bare legal conclusions or inferences unsupported by the facts in
the complaint.(See /d a at 29: citing Browning, 292 F.3d at 242); see also Spadafore v.
Gardner, 330 F.3d 849, 854 6" Cir. 2003): denied after Swierkiewicz and holding
that “... conspiracy claims must be pleaded with some degree of specificity and...
vague and conclusory allegations unsupported by material facts will not be sufficient
to state such a claim...” (citation omitted); Jackson v. Blue Dolphin Communications
of North Carolina, 226 F. Supp. 2d 785, 789 (W.D.N.C. 2002): acknowledging
Swierkiewicz and dismissing conspiracy claim because plaintiff made only general and
conclusory allegations without supporting facts). Thus, Plaintiffs’ bare allegations that
“the defendants conspired with and agreed to provide material support... to Al Qaeda”
(3AC § 679) and that “[d]efendants engaged in ...conspiratorial acts ...designed and
intended ...to cause a terrorist attack on the United States” (3AC § 680) are too vague
and conclusory to support Plaintiffs’ conspiracy claim against Yeslam Binladin.

Here, there are no allegations to support the inference of necessary agreement
between Yeslam Binladin and anyone engaged in terrorism, much less the Scptember
11 attacks. There are obviously no allegations from which on can directly infer an
agreement. Plaintiffs allege no contact between Yeslam Binladin and the September 11
terrorists themselves. The contacts Plaintiffs allege between unspecified Binladin
family members and Osama Bin Laden are no more recent than the early 1990s and
non, as explained above, relate in any way to terrorist activities. Moreover, although
an agreement may in an appropriate case be inferred from circumstantial evidence,
conspiracy requires at a minimum “a ‘common and unlawful plan whose goals are
known to all members’, even if all parties are not privy to each individual act taken in
furtherance of the common objective” (See Ungar, 211 F. Supp. 2d at 100 (quoting
Hobson v. Wilson, 737 F. 3d 1, 55 (D.C.Cir. 1984)). Plaintiffs have alleged nothing
from which one could infer that Yeslam Binladin shared any goal or plan with Osama
Bin Laden and al Qaeda. As already explained, none of its conduct is tied in any way
to terrorist activities. To be sure, SBG, which MBO is a subsidiary, is alleged to have

pursued the same goal as Osama Bin Laden in Afghanistan during 1980s. But in this
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respect they were joined by the United States Government, which provided billions of
dollars in support. Were this sufficient to infer a common plan to commit terrorist acts,
the United States would be a co-conspirator.

Moreover, where, as here, the defendant is neither alleged to have been present at
the commission of the underlying tort nor to have committed any similar act, “a more
extensive set of inferences to link the actors together” is required (See Halberstam,
705, F. 2d at 481). The court must look to, among other things, “the proximity in time
and place of acts, and the duration of the actor’s joint activity “(See Id). There is no
allegation that Yeslam Binladin knowingly supported al Qaeda, especially after Osama
Bin Laden began to target the United States. Nor is there any allegation that Yeslam
Binladin did anything to further al Qaeda’s interests. The absence of such allegations
critically distinguishes Plaintiffs’ conspiracy claim against Yeslam Binladin from the
conspiracy claim alleged against A\-Haramain that this Court found sufficient under
Rule 12(b)(6). (See July 25 Slip. Op. at 35). The allegations against Al-Haramain
include the claim that “[mJany of Al-Haramain’s foreign branches had been exposed
for providing direct and material support to al Qaeda”, that two had been designated as
terrorist entities by the United States AC § 155(cited by the Court, Slip Op. at 34)),
and that Al-Haramain had aided al Qaeda terrorist groups as recently as 2001 (3AC §
169( cited by the Court, Slip Op. at 34)). Plaintiffs have alleged nothing like that
connection, either temporally or substantively, against Yeslam Binladin. The
affirmative conduct Plaintiffs have alleged against Yeslam Binladin is simply Yeslam
Binladin’s being a member of the Board of Directors of MBO. Allegations against
SBG, MBO’s parent company, occurred more than a decade before the attacks, and the
vague allegations they have made subsequent contact bear no connection to, and
certainly support no inference of support for, any terrorist activities. They certainly

have no relationship to Yeslam Binladin. Accordingly, Plaintiffs cannot maintain their

ATA claim against Yeslam Binladin on a conspiracy theory.
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C Plaintiffs Fail to Allege Any Facts Showing That Yeslam Binladin Acted

“Knowingly” in support of the September 11 Terrorists, Osama Bin Laden

or Al Qaeda

Plaintiffs also fail to allege adequate facts to establish knowledge on the part of
Yeslam Binladin. To be liable under § 2333 for providing material support to
terrorists or for aiding and abetting, plaintiffs must show that the defendants did so
knowingly and intentionally. (See Boim, 291 F.3d at 1011-12: see also supra
I11(B)(1)). Similarly, to be liable for aiding and abetting, the defendant must have had
actual knowledge of the underlying tortious activity. (See Invest Almaz v. Temple-
Inland Forest Prods. Corp., 243 F.3d 57, 82-83 (1* Cir. 2001); see also Diamond State
Ins. Co v. Worldwide Weather Trading LLC, No 02 Civ. 2900, 2002 WL 31819217, at
*6 (S.D.N.Y. Dec. 16, 2002): recognizing that a claim of aiding and abetting under
New York law, constructive knowledge or allegations that the defendant “recklessly
disregarded” or “should have known” of the wrongdoing cannot withstand a motion to
dismiss).

Because MBO’s alleged conduct is so remote from the September 11 attacks in
time and location, the Plaintiffs’ obligation to allege some facts from which
knowledge can be inferred is heightened. It is even more so when considered in the
context of Yeslam Binladin’s alleged tortuous conduct arising simply from his position
as a member of the board of directors of MBO (See In re TMJ, 113 F.3d at 1495.
explaining that in an aiding and abetting claim, the weaker the evidence of substantial
assistance, the stronger must be the showing of knowledge; see also Woodward v.
Metro Bank of Dallas, 522 F. 2d 84, 95 5" Cir. 1975): explaining in the securities
context that the knowledge requirement “scales upward when activity is more
remote...A remote party must...know when and to what degree he is furthering” the
tortuous activity). Plaintiffs themselves have acknowledged that in order to establish
ATA liability under Boim they must show that defendant knew of Osama Bin Laden’s
activities directed against the United States at that time they provided the alleged

support. (See Hearing Tr 75-78; Pl Opp. To African Muslim Agency Mot. To Dismiss
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at 6-7 (June 28 2003); Pl. Opp. To Prince Turki Mot. To Dismiss at 53 (June 16,
2003); Pl. Opp to Prince Sultan Mot. To Dismiss at 54 (June 16, 2003).

Here, however, Plaintiffs have offered no facts from which it can be inferred that
Yeslam Binladin knew of Osama Bin Laden’s unlawful intentions at the time he
engaged in any of his alleged conduct. Indeed. Plaintiffs’ allegations regarding Yeslam
Binladin — included in the chapter concerning SBG — are remarkably sparse for the
entire decade preceding the September 11 attacks. Instead, Plaintiffs concentrate on
the period during which SBG allegedly assisted Osama Bin Laden and others in the
Afghan war against the Soviet Union — to which the U.S. government itself
contributed billions of dollars — and the period immediately thereafter when SBG was
involved in construction in Sudan. As for Yeslam Binladin the sole allegation against
him is that he is a member of the board of MBO, a SBG subsidiary. All of that
occurred well before Osama Bin Laden or al Qaeda were a known threat. Plaintiffs
allege virtually no facts post-dating the family’s publicized break with Osama Bin
Laden in 1993. Plaintiff's allegations cannot give rise to any reasonable inference that
Yeslam Binladin knew of Osama Bin Laden intention to attack the United States at the

time SBG — and by inference MBO -- engaged in the alleged conduct.

IV. PLAINTIFFS’ ALLEGATIONS AGAINST YESLAM BINLADIN DO NOT
MEET THE REQUIREMENTS OF THE ALIEN TORT CLAIMS ACT

The small subset of Plaintiffs who qualify as “aliens” have stated no claim
against Yeslam Binladin under the Alien Tort Claims Act (“ATCA”). Specifically,
Plaintiffs have failed to allege a “violation of the law of nations or a treaty of the
United States” for which Yeslam Binladin, as private actor, can be held liable (See

Slip Op. at 22: quoting Bao Ge v. Li Peng, 201 F. Supp. 2d 14, 19-20 (D.D.C. 2000),
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aff'd, 35 Fed Appx. 1, 2002 WL 1052012(D.C.Cir.2002)). The ATCA claim against
him must therefore be dismissed pursuant to Rules 12(b)(1) and 12(b)(6)"".

Private actors such as Yeslam Binladin may be held liable under the ATCA only
for a handful of “offenses of universal concern” under the law of nations. (See Doe v.
Islamic Salvation Front, 993 F. Supp. 3, 7-8(D.D.C. 1998): quoting Kadic v. Karadzic,
70 F.3d 232, 240 (2d Cir. 1995)(internal quotations omitted)). The Court has already
held that “aircraft hijacking is generally recognized” as such an offense.(See Slip Op.
at 22)'*. Yeslam Binladin, however, is not alleged to have planned, directed, or
committed any acts of aircraft hijacking or any other acts in violation of the law of
nations'?, Rather, Plaintiffs seek to hold Yeslam Binladin liable under ATCA only for
aiding and abetting or conspiracy with September 11 hijackers. (See 3AC § 654).

Plaintiffs’ allegations regarding Yeslam Binladin purported role in supporting
terrorism are inadequate to state such a claim. As noted above (See supra III(B) (1)
and (2)), the Complaint fails to sufficiently allege that Yeslam Binladin aided and
abetted or conspired to commit the September 11 attacks, Under international law,
much like domestic law, “complicit liability” arises where the defendant provides
“direct and substantial” assistance with “knowledge that the assistance will facilitate
the crime”. (See Presbyterian Church of Sudan v. Talisman Energy Inc., 244 ¥. Supp.
2d 289, 323-24(S.D.N.Y. 2003): quoting omitted). Therefore, Plaintiffs ATCA claims
fail on the same basis as their ATA claims. Apart from impermissibly conclusory
allegations, Plaintiffs in no way connect Yeslam Binladin to the September 11 attacks,

nor do their allegations give rise to any reasonable inferences that Yeslam Binladin

"| Courts have adjudicated motions to dismiss ATCA claims under both Rule 12(b)(1) for lack of subject matter
jurisdiction and Rule 12(b)(6) for failure to state a claim.(Compare Bao Ge, 201 F. Supp. 2d at 19: operating
pursuant to Rule 12(b)(1), with Abdudlahi v. Pfizer, Inc., no 01 Civ. 8118, 2002 WL 31082956, at 33 (S.D.N.Y.
Sept 17, 2002): operating pursuant to Rule 12(b)(6)). As a practical matter, the result here should be the same
under either rule.

" But see United States v. Yousef, 327 F3d 56, 103-04 (2d Cir. 2003): rejecting reliance on the Restatement
(Third) of Foreign Relations Law §404 (1986) and cases relying thereon, such as United States v. Yunis, 924
F.2d 1086, 1092 (D.C.Cir. 1991), and reversing the district court’s finding that “aircraft-related crime” was
among the “near-unique offenses uniformly recognized by the civilized nations as an offenses against the Law of
Natians”): Sanchez-Espinoza vy. Reagan, 770 F2d 202, 205-07 (D.C.Cir. 1985): allegations of support of
terrorism not cognizable against private individuals under the ATCA).

'3 Given this Court’s ruling that aircraft hijacking is an international offense of universal concern, Yeslam
Binladin does not here address Plaintiffs other claimed violations of international law. He expressly reserves the

right to demonstrate, if appropriate, that these violations do not fall within the narrow category of offenses for
which private actors may be held liable.
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knowingly and intentionally provided support for their commission. Indeed, the
insufficiency of Plaintiffs’ allegations is particularly glaring in the ATCA context,
where it has been held, post Swierkiewicz, that “the complaint must adequately plead a
violation of international law” as a “jurisdictional prerequisite’(See Abdullahi v.
Pfizer, Inc., no 01 Civ. 8118, 2002 WL 31 082956, at *3 (S.D.N.Y. Sept. 17, 2002):
quoting Bigio v. Coca-Cola Co, 239 F.3d 440, 447 (2d Cir. 2000)). It is well
established, and remains true following Swierkiewicz, that ATCA claims “requir[e] a
more searching review of the merits to establish jurisdiction” (See Abdullahi, 2002
WL 31082956, at *3: quoting Filartiga v. Pena-Irala, 630 F.2d 876, 887-88 (2d Cir.
1980)). Moreover, as another judge of the Court recently sated, a court faced with a
question of subject matter jurisdiction “must give the complaint’s factual allegations
closer scrutiny than required [when ruling on] a motion to dismiss... for failure to state
a claim” (See Mikkilineni v. Pennsylvania, no 02-1205, 2003 U.S. Dist. LEXIS 12669,
at *10 (D.D.C. Aug. 5, 2003). As established above, plaintiffs’ allegations fail to
support any inference that Yeslam Binladin knowingly provided substantial assistance
for September 11 attacks or in any way agreed to further their commission. Plaintiffs’
ATCA claim against Yeslam Binladin must therefore be dismissed on that ground”.
Moreover, even if Plaintiffs had pleaded allegations sufficient to establish a claim
of aiding and abetting or conspiracy against Yeslam Binladin, Plaintiffs could rely on a
theory of secondary ATCA liability in the instant case. All of the ATCA cases cited by
plaintiffs in prior briefs and by the Court in this case that apply a theory of secondary
liability involved a private actor’s joint action with a state actor, not another private
actor, to commit a violation of international law'>. In Presbyterian Church of Sudan vy.
Talisman Energy, Inc, 244 F. Supp. 2d 289 (S.D.N.Y. 2003), for example, the court

noted that “many courts have addressed situations in which corporations were alleged

'4 Plaintiffs’ ATCA claim also must be dismissed for failure to allege proximate causation. (See Carmichael, 835
F.2d at 115: affirming dismissal of ATCA claim where plaintiff failed to “demonstrate any causal connection
between [defendant’s] conduct and [plaintiffs] prolonged imprisonment and torture”).

See Slip Op. at 23.24: citing Talisman Energy, 244 F. Supp 2d at 321; Mehinovic v. Vuckovic, 198 F. Supp
2d 1322, 1355 (N.D. Ga 2002); and Eastman Kodak Co. v. Kavilin, 978 F. Supp 1078, 1091-92 (S.D.Fla. 1997));
see also Hilao v. Estate of Marcos, 103 F3d 767, 776 gn Cir. 1996); Barrueto v. Larios, 205 F. Supp 2d 1325,

1331-32(S.D.Fla 2002); Doe v. Unocal Corp., 963 F. Supp. 880, 889-90 (C:D. Cal. 1997); Abebe-Jira v.
Negewo, 72 F3d 844, 845-48 (11" Cir. 1996).
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to have conspired with or aided and abetted states”; thus, the court held that plaintiffs
could maintain a claim against a private company for alleged joint action “with Sudan
to commit various violations of the law of nations” including genocide, slavery, and
war crimes. (See Jd at 320, 324 (emphasis added); see also Mehinovic v. Vuckovic,
198 F. Supp. 2d 1322, 13355-56 & nn 27, 58 (N.D.Ga 2002): finding that *defendant
Vuckovic [who was himself a de facto state actor] aided and abetted Serb military and
political forces in committing genocide, war crimes, torture and other wrongful acts”).
Similarly, in Eastman Kodak Co. v. Kavlin, 978 F. Supp. 1078 (S.D.Fla 1997), the
court considered “the question...whether the ATCA makes a private actor liable in tort
for conspiring with state actors to violate the law of nations” and conducted that the
defendant could be held liable for conspiring with the Bolivian criminal authorities and
the presiding judge to secure [plaintiff's] arbitrary and inhumane detention” (See Id at
1090-91'°. This Court should decline Plaintiffs’ invitation to extend the doctrine of

secondary ATCA liability to cases where one private actor, allegedly supported

another private actor.

V. PLAINTIFFS HAVE NOT ADEQUATELY PLEADED A VIOLATION OF
THE TORTURE VICTIM PROTECTION ACT

The Complaint fails to state a claim against Yeslam Binladin under the Torture
Victim Protection Act, Pub. L. 102-256, 106 Stat. 73 (reprinted at 28 U.S.C. § 1350,
note) (“TVPA”). The TVPA expressly allows a claim only against “aJn individual
who, under actual or apparent authority, or color of law, of any foreign nation...
subjects an individual to torture... or ... extrajudicial killing ...” 28 U.S.C. §1350,
note §2(a), Plaintiffs’ claims fail as a matter law to meet these express requirements in

one respect: a TVPA claim may only be brought against individuals acting under the

'© The case of Doe v. Islamic Salvation Front, 257 F. Supp 2d 115 (D.D.C. 2003) (Robertson, J.) and 993
F.Supp. 3 (D.D.C. 1998) (Sporkin, J.) is not to the contrary. Neither court was presented with an argument that
secondary liability is inapplicable to an ATCA claim alleging that one private party assisted another — i.e., that

state action is required in such circumstances—nor has this Court yet squarely faced such an argument in this
case.
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“authority, or, color of law, of any foreign nation”, which Yeslam Binladin is not

alleged to have done.

A The TVPA’s State Action Requirement is Not Satisfied

Plaintiffs cannot maintain a claim against Yeslam Binladin because they have
made no allegations that Yeslam Binladin was acting under color of law, as the TVPA
expressly requires. A claim lies under the TVPA only against those individuals acting
under “actual or apparent authority, or color of law of a[] foreign nation”. 28 U.S.C. §
1350, note 2(a); accord Bao Ge, 201 F. Supp. 2d at 23 (holding that “the TVPA
contains explicit language requiring state action”)(internal citation omitted)!”. The
Second Circuit has used standards developed under 42 U.S.C. § 1983 as a guide to
determine whether a private individual acts under “color of law” in the context of a
claim under the TVPA. (See Kadic, 70 F. 3d at 242). Under that analysis, a private
individual act under color of law when he acts “together with state officials or with
significant state aid”. /d: citing Lugar v. Edmonson Oil Co., 457 U.S. 922, 937 (1982).
Similarly, in Bao Ge the court required the plaintiff to show a “substantial degree of
cooperation action” between the defendant and a foreign nation to find the required
state action. (See Bao Ge, 201 F. Supp. 2d at 22).

The complaint contains no allegations against Yeslam Binladin from which this
Court could infer the requisite state action. Plaintiffs do not allege that Yeslam
Binladin acted either in concert or cooperatively with foreign government in any

alleged support of al Qaeda. Therefore, the TVPA claim against Yeslam Binladin must

also be dismissed.

'’ Legislative history confirms that this language was intended to “’make[] clear that the plaintiff must establish
some governmental involvement in the torture or killing to prove a claim’ and the statute ‘does not attempt to

deal with torture or killing by private groups. Kadic, 70 F. 3d 232 at 243: citing H.R.Rep. no 102-367 at 5
(1991)).
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VI PLAINTIFFS HAVE FAILED TO PLEAD A VIOLATION OF FEDRAL.
RICO STATUTE BY YESLAM BINLADIN

In light of the Court’s opinion and order of July 25, 2003, Yeslam Binladin will
not belabor the point that Plaintiffs fail to state a claim under RICO for failure to an
injury to business or property, For the reasons set out in the Court’s opinion, Counts

11-13 must be dismissed against Yeslam Binladin."*.

VIL PLAINTIFFS FAIL TO STATE A CLAIM UNDER ANY OF THEIR SATE
LAW THEORIES

Each of Plaintiffs’ state law causes of action fails to state a claim on which relief
may be granted'’. In addition to the defects already set forth above with respect to
proximate cause, conspiracy, and aiding and abetting, Plaintiffs’ common law claims

suffer from other tatal detects.

A. Plaintiffs’ Negligence Claims Must Be Dismissed for Failure to allege a Duty
Yeslam Binladin Owed to Plaintiffs

As the Court in this case has already found with respect to other defendants,
plaintiffs’ claims for negligence (count 6) and for negligent infliction of emotional

distress (count 8) cannot proceed, as a matter of law, because Plaintiffs have failed to

'® Because the Court has dismissed that claim on the business or property ground, the other myriad deficiencies
in Plaintiffs’ RICO claims need not be considered. Yeslam Binladin reserve any other applicable defenses to
Plaintiffs’ RICO claims.

'? In addition to the state law claims discussed below, Plaintiffs also assert a claim for “survival” in Count 7. A
survival claim is a derivative that depends on wrongful conduct and cannot stand on its own. (See e.g., Corcoran
v. New York Power Auth. 935 F. Supp. 376, 390 (S.D.N.Y. 1996): “Since [a] survival action, after all, is
essentially a decedent’s personal injury lawsuit, this cause of action is dependent on the viability of [other]
causes of action” (internal citation omitted)); Blouin v. Spitzer, 213 F. Supp. 2d 184, 196-97 (N.D.N.Y. 2002):
listing negligence, battery, unlawful practice of medicine, and intentional and/or reckless infliction of emotional
and mental distress and anguish as “plaintiff's survival action”). Due to the fact that Plaintiff's survival claim is
based on the same predicated acts as its wrongful death and other claims, it fails.
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allege any duty that Yeslam Binladin owed to Plaintiffs. The essence of a common law
negligence claim is “’the existence of a duty, the breach of which may be considered
the proximate cause of the damages suffered by’ plaintiff(See Glusband y. Fittin
Cunningham Lauzonm Inc., 582 F. Supp. 145, 152 (S.D.NY. 1982): quoting Becker v.
Schwartz, 413 N.Y.S. 2d 895, 899(1978)). “[t]he touchstone for any negligence action
is the existence of a duty running from a defendant to a plaintiff’ (See Sirtton Group,
Ltd v. Sprayregen, 466 F. Supp. 1180, 1188 (S.D.N.Y. 1979). Without any duty, “as a
matter of law, no liability can ensue”. (See McCarthy v. Olin Corp., 119 F. 3d 148,
156 (2d Cir. 1997): quoting Gonzalez v. Pius, 525 N.Y.S. 2d 868, 869 (App. Div.
1988)); see also Steed Fin. LDC v. Laser Advisers, Inc., 258 F. Supp. 2d 272, 284
(S.D.N.Y. 2003): dismissing negligence claim for failure to allege the existence of a
duty); Kolbeck v. LIT Am., Inc., 923 F. Supp. 557, 571 (S.D.N.Y. 1996), aff'd, 152
F.3d 918 (2d Cir. 1998).

Plaintiffs do not, however, attribute any specific duty of care to Yeslam Binladin.
Instead, Plaintiffs again lump all defendants together and propose that “[alll
defendants were under a general duty not to injure, murder or cause to be injured or
murdered, not to commit or sponsor criminal or tortuous acts, endanger lives, foster
terror and/or engage in activity that would foreseeably lead to personal injury and/or
death of Plaintiffs’ (3AC § 666). This asserted duty fails as a matter of law, as the
Court in this case has already found with respect to certain other defendants, (See Slip
Op. at 42.). Indeed, it is axiomatic that there is no general duty “to control the conduct
of third persons to prevent them from causing injury to others2 (See McCarthy, 119
F.3d at 156-57: quoting Purdy v. Pub. Adm’r of County of Weschester, 530 N.Y.S. 2d
513, 516 (1988)). Plaintiffs must allege a specific duty of care “and not some
amorphous, free-floating duty to society” (See Campoverde v. Sony Pictures Entm.t,
no 01 Civ. 7775, 2002 WL 31163804, at *14 (S.D.N.Y. Sept. 30, 2002): quoting
Mortise v. United States, 102 F.3d 693, 696 (2d Cir. 1996)). Because Plaintiffs have
not alleged any specific legal duty that Yeslam Binladin owed to the Plaintiffs, or even

suggested any relationships that might give rise to such a duty, their negligence claims

must be dismissed.
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B Plaintiffs’ Intentional Tort Claims Must Be Dismissed

Plaintiffs have pleaded state law claims for intentional torts under theories of
wrongful death (Count 5) and intentional infliction of emotional distress (Count 8).

One critical element of a wrongful death claim is that the defendant committed a
wrongful, neglectful, or defaulting act that caused the decedent’ death. (See MY. Est.
Powers & Trust Law § 5-4.1 (McKinney 2003); Habrack v. Kupersmith, no 87 Civ.
4712, 1988 WL 102037, at *2 (S.D.N.Y. Sept 23, 1988): citing Chong v. New York
City Transit Auth., 441 N.Y.S. 2d 24, 25-26 (App. Div. 1981)). It cannot be argued,
and we do not understand Plaintiffs even to claim, that Yeslam Binladin committed a
wrongful act that directly caused any of the victims’ deaths in the sense of this statute.
While the September 11 attacks themselves would certainly satisfy this element of the
cause of action against the perpetrators of those attacks, the Complaint does not allege
that Yeslam Binladin was in any way involved in the planning or execution of those
attacks. Plaintiffs’ theory of indirect involvement in the September 11 attacks through
financing and other support cannot, as a matter of law, sustain a claim for wrongful
death because even if those allegations are true, New York law does not support a
wrongful death calm against those who simply created the conditions that allowed
others to perpetrate these heinous crimes. (See Jantzen v. Leslie Edelman of N.Y., Inc.,
614 N.Y.S. 2d 744, 745 (App. Div. 1994): rejecting wrongful death claim against
defendant for selling a gun that was later used to kill plaintiff's decedent).

Similarly, a fundamental element of intentional infliction of emotional distress is
“extreme and outrageous conduct” (See Campoverde, 2002 WL 31163804 at *11 :
citing Bender v. City of New York, 78 F.3d 787, 790 (2d Cir 1996)). It “must transcend
all bounds of decency and be regarded as atrocious and utterly intolerable in a civilized
community” (See Graham v. Guilderland Cent. Sch. Dist., 681 N.Y.S. 2d 831, 832
(App. Div. 1998) (internal quotations omitted). No one can question that the
September 11 attacks themselves represent the height of such conduct. But it is not

enough to simply allege that a defendant had some indirect connection to an extreme
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and outrageous act. New York courts “impos[e] a very high threshold” for emotional
distress claims and are expected to act as gatekeepers to scrutinize vague or general
allegations at the pleading stage. (See Campoverde, 2002 WL 31163804 at *11 : citing
Murphy v. Am Home. Prods. Corp., 461 N.Y.S. 2d 232, 236 (N.Y. 1983); Stuto v.
Fleishman, 164 F.3d 820, 827 (2d Cir. 1999)).

Moreover, to state a claim for intentional infliction of emotional distress,
plaintiffs must plead that Yeslam Binladin’s conducts was “intentionally directed at
the plaintiff...” (See Three Crown Ltd. P’ship v. Caxton Corp., 817 F. Supp. 10033,
1048-49 (S.D.N.Y 1993) (quotations omitted): dismissing intentional infliction claim
for failure to adequately plead specific intent). This element is likewise not met as
Plaintiffs have not alleged that Yeslam Binladin knowingly participated in September
11 planning or attacks, much less directed his alleged conduct at any Plaintiff now
before this Court. Thus, Plaintiffs have failed to allege the requisite level of specific
intent against Yeslam Binladin to maintain a claim for intentional infliction of
emotional distress.

Therefore, any liability for wrongful death or for intentional infliction of
emotional distress must ultimately rest on a joint tort theory — either conspiracy or
aiding and abetting (See Ungar, 211 F. Supp. 2d at 99-100. However, those theories
fail as a matter of law for the reasons set forth above (See supra §§III(B)(1) and (2)).
Accordingly, Plaintiffs’ claims for intentional torts, as well as their separately stated

claims for common law conspiracy (Count 9) and aiding and abetting (Count 10), must

be dismissed.
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VI. CONCLUSION

For the reasons stated herein, Yeslam Binladin respectfully asserts that pursuant
to Swiss law this Court lacks jurisdiction over the subject matter of the complaint and
over the person of Defendant Yeslam Binladin and the complaint should be dismissed.

Alternatively, for the reasons stated herein, Yeslam Binladin respectfully asserts
that pursuant to American law this Court lacks jurisdiction over the subject matter of

the complaint and over the person of Defendant Yeslam Binladin and the complaint

should be dismissed.

Dated: Geneva, Switzerland,
February 27, 2004

Respectfully submitted,

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